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                                   STATEMENT OF FACTS

       I,                   , am a Special Agent of the Federal Bureau of Investigation, and have
been so employed since January of 2017. I am presently assigned to the FBI’s Detroit Division. In
my duties as a Special Agent, I investigate Domestic and International Terrorism matters. One of
my current tasks is investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

                  Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.


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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                 Identification of Curtis Pulaski

        On January 9, 2021, the FBI received an anonymous tip that Curtis Pulaski (hereafter
referred to as PULASKI) arrived at the Washington Hospital Center in Washington, D.C., on
January 7, 2021, for treatment of a spinal injury. PULASKI told admitting nurses that he was from
Michigan, and that he sustained his injuries while he participated in the breach of the Capitol
building on January 6, 2021. PULASKI specifically described scaling the wall of the building and
attempting to break into the building when he fell, subsequently injuring his back. Nurses located
a bulletproof vest among other items in PULASKI’s personal belongings that they described as
“tactical type gear.”

        On January 12, 2021, Special Agents from the FBI’s Washington Field Office interviewed
PULASKI at the Washington Hospital Center. At the outset of the interview, PULASKI was
advised that he was not under arrest and that he did not have to answer the agents’ questions.
While PULASKI appeared physically weak, he also appeared lucid for the duration of the
interview.

        PULASKI stated that he traveled from Grand Rapids, Michigan to Washington, D.C. by
himself, arriving around 7:00 a.m. on January 6, 2021. PULASKI said he had previously attended
other protests to live stream or get video of Antifa members. PULASKI explained that he attended
the event on January 6, 2021 because he wanted to live stream and collect video of the Trump rally
for his YouTube channel. PULASKI stated that because his phone battery was dying, he returned
to his hotel and fell asleep. PULASKI woke up between 3:00 p.m. and 4:00 p.m. and rushed over
to the Capitol, where he began taking pictures and filming people. PULASKI saw several people
attack law enforcement officers and others trying to break the windows of the Capitol building.

        PULASKI admitted to entering the Capitol building twice, stating he entered the Capitol
building in an effort to get better footage of the events. PULASKI stated that at one point when he
entered the Capitol building, he walked into a couple of rooms. In one of the offices, PULASKI
noticed there were several very nice looking Apple computers and PULASKI decided to leave.
According to PULASKI, the second time PULASKI entered the Capitol building, he thought he
heard tear gas deploy outside the building and saw some civilians telling the crowd to get back
into the building to escape the tear gas. Inside, PULASKI stated that he saw civilians were
barricading the doors to another room or office inside the Capitol. When he exited the Capitol,
PULASKI stated he saw lots of tear gas and people laying all over the ground. PULASKI stated
that he became afraid of getting trampled by the crowd so he decided to try and jump off one of
the Capitol walls to the ground level. PULASKI stated that he fell a significant distance and
suffered severe injuries as a result of the fall.




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        PULASKI stated to the interviewing agents that he collected numerous pictures and videos,
but deleted them from his phone when another individual told PULASKI he could be arrested for
his participation in the events of January 6, 2021. PULASKI stated he regretted his decision and
hoped no one else got hurt.

       PULASKI subsequently retained legal counsel and communicated with agents of the FBI
through counsel. In response to agents’ questions, PULASKI’s retained counsel stated by email
on February 4, 2021 that:

           •   PULASKI used the handle CJMedia on Youtube.
           •   PULASKI did not recall every article of clothing he wore that day, but he did recall
               that he had on a black leather jacket, black/grey dress pants, and red skull cap with
               some Trump moniker on it.
           •   The time PULASKI saw the Apple computers and decided to leave was the second
               time PULASKI had entered the Capitol.
           •   PULASKI was not able to recover any of his deleted digital media.
           •   PULASKI recalled witnessing violence against law enforcement officers when he
               exited the Capitol the second time, but “he was at a very far distance” and some
               kind of chemical agent was deployed.

        The FBI searched available videos using PULASKI’s likeness from his driver’s license
image. The FBI located a video originally posted to the social media and video sharing
application “TikTok” on January 6, 2021. The video appears to show PULASKI inside the
Capitol building on January 6, 2021. A screenshot from that video is included below as Image
1, and a close-up of that screenshot is included below as Image 2. In the video, PULASKI is
inside the building and trying to assist another rioter attempting to enter through the broken
window. The area of the Capitol building shown in the video appears to be the Low Room,
believed to be ST-2M, in the Lower West Terrace, adjacent to the Tunnel. This is largely
consistent with PULASKI’s description of how and where he entered the Capitol building the
second time. The FBI Special Agent who interviewed PULASKI in person assessed “with high
confidence” that PULASKI is the person shown in Images 1 and 2. The agent further identified
the circled individual depicted in Images 3 through 7 and 9 through 10 below as PULASKI.




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Image 1: Screenshot from TikTok video depicting PULASKI in the Low Room, also believed to
                                        be ST-2M




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                       Image 2: Close-up of Image 1 depicting PULASKI

        As further corroboration, based on information provided by Verizon on February 21, 2023,
pursuant to legal process, the subscriber of the number ending in -3193 is Curtis PULASKI,
residing in Wyoming, Michigan. In addition, PULASKI used the same number to send a text
message in February 2021 to an FBI agent, in which PULASKI identified himself and noted that
he had retained legal counsel. Based on information previously obtained by the FBI, pursuant to
legal process, PULASKI’s telephone number (the number ending in -3193) used wireless data
services provided by cell phone towers serving a geographic area consistent with the grounds and
interior of the United States Capitol building.

        Based on the above information, I have also reviewed open source media of the attack at
the Capitol on January 6, 2021. Based on the similarity of the clothing (in particular, the black
jacket), appearance, and the injury the individual appears to have suffered, I believe the individual
in the following images is the same individual, CURTIS PULASKI, as in Images 1 and 2 and who
interviewed with another agent of the FBI, CURTIS PULASKI.

       A publicly available image included below as Image 3 shows an individual who I believe
to be PULASKI. The individual is similar in appearance to the person in the previous images, is
wearing a dark jacket, and holding a red knit cap.




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          Image 3: PULASKI near the Lower West Terrace (available at: https://www.imago-
                               images.de/st/0109532235)

                                     Facts Specific to Curtis Pulaski

        In a publicly available video, a still image included below as Image 4, is an individual who
I believe to be PULASKI and is wearing both a dark jacket and a red knit cap inside a room
believed to be ST-2M in at the U.S. Capitol building on January 6, 2021.




        Image 4: PULASKI inside one of the Low rooms (at approx. 4:22 of https://capitol-hill-
  riots.s3.us-east-1.wasabisys.com/Periscope/Third%20Party/Jeremy%20Lee%20Quinn%20-
       %205pm%20BLM%20plaza%20in%20Washington%20DC-1ZkJzelZkrDGv.mp4)

        Another image of PULASKI in this location shows he is wearing a white face mask with
black-colored outlines (Image 5). This distinctive white and black face mask can be seen in other
images of PULASKI inside the U.S. Capitol, and which FBI databases matched with PULASKI’S
driver’s license photo. PULASKI is wearing the same face mask in Image 2 above.




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                     Image 5: PULASKI wearing a white mask while inside ST-2M
                 (https://www.youtube.com/watch?v=C4sIl5URW5Q&t=1038).

        The video described in Image 4 further shows PULASKI pick up a flag with “TRUMP”
printed on it, and drape the flag over his shoulders like a cape. See Image 6.




         Image 6: PULASKI (circled) wears a Trump flag that he had picked up as a cape at
                  approximately 6:40 of https://capitol-hill-riots.s3.us-east-
         1.wasabisys.com/Periscope/Third%20Party/Jeremy%20Lee%20Quinn%20-
       %205pm%20BLM%20plaza%20in%20Washington%20DC-1ZkJzelZkrDGv.mp4

         The same video shows the crowd inside the Capitol Building open a door at about the
7:11 timestamp, and the individual matching PULASKI’S likeness enters to another room deeper
within the U.S. Capitol building. Another rioter in the room rips that door from its hinges at about
the 7:58 timestamp. PULASKI re-enters the first room and can be seen there at the 8:59 timestamp.

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However, when other rioters indicated that they “need more people”, and issued commands to
“press forward”, PULASKI moved deeper into the U.S. Capitol building through the breached
doorway at the 10:13 timestamp. PULASKI then entered a room deeper within the building that
appears to be an office. In this room, PULASKI approached a work station. Based on my training
and experience, PULASKI appeared to holds his phone in a way that indicated that he was taking
pictures of the documents on the desk within the U.S. Capitol building. See Image 7.




       Image 7: PULASKI (circled) looks at the documents found on a desk at the U.S. Capitol
                   at approx. 10:36 of https://capitol-hill-riots.s3.us-east-
         1.wasabisys.com/Periscope/Third%20Party/Jeremy%20Lee%20Quinn%20-
       %205pm%20BLM%20plaza%20in%20Washington%20DC-1ZkJzelZkrDGv.mp4




       Image 8: PULASKI holds his phone over the documents on the desk at approx. 10:39 of
                          https://capitol-hill-riots.s3.us-east-


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         1.wasabisys.com/Periscope/Third%20Party/Jeremy%20Lee%20Quinn%20-
       %205pm%20BLM%20plaza%20in%20Washington%20DC-1ZkJzelZkrDGv.mp4

        The other video referenced above more clearly depicts PULASKI taking a photo of the
desk, as seen in Image 9 below. PULASKI then left the office.




        Image 9: PULASKI (circled) takes a photo before leaving the room at approx. 19:46 of
                https://www.youtube.com/watch?v=C4sIl5URW5Q&t=1038s

       The publicly available image included below as Image 10 shows an individual who I
believe to be PULASKI being carried by two other individuals away from the U.S. Capitol
building. The individual is wearing a black jacket and appeared to have suffered an injury.




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                  Image 10: PULASKI is carried away from the Capitol (available at
 https://www.alamy.com/washington-united-states-06th-jan-2021-pro-trump-rioters-breach-the-
  security-perimeter-and-penetrate-the-us-capitol-to-protest-against-the-electoral-college-vote-
     count-that-would-certify-president-elect-joe-biden-as-the-winner-in-washington-dc-on-
     wednesday-january-6-2021-under-federal-law-jan-6-is-the-date-electoral-college-votes-
    determining-the-next-president-are-counted-in-a-joint-session-of-congress-photo-by-ken-
                 cedenoupi-credit-upialamy-live-news-image396775912.html)

       The publicly available image included below as Image 11, which was posted to the
platform Parler at approximately 5:07 p.m. on January 6, 2021, shows an individual who I believe
to be PULASKI limping away from the U.S. Capitol building.




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                   Image 11: PULASKI limps away from the Capitol (available at
              https://d2hxwnssq7ss7g.cloudfront.net/z5gCyYj1MB4N_cvt.mp4)

        These publicly available images of PULASKI in areas of the U.S. Capitol and Capitol
grounds are consistent with statements made by PULASKI, with matches identified by FBI
database searches, and with data provided by wireless service providers, which indicate that
PULASKI entered the U.S. Capitol building without lawful authority on January 6, 2021. Further,
as earlier noted, the agent who interviewed PULASKI in person identified the circled individual
depicted in Images 3 through 7 and 9 through 10 above as PULASKI.


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                                                    Zia M.
                                                    Faruqui
